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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

WENDELL SHANE MACKEY,

      Plaintiff,
                                         Case No. 2:17-cv-12359-BAF-DRG
v.                                       HON: BERNARD A. FRIEDMAN


JAMES MICHAEL BERRYMAN,
Mayor of the City of Adrian, Michigan;
MARGARET M.S. NOE, Judge of the
Lenawee County Circuit Court,

     Defendants.
__________________________________________________________________/

HADDAD LAW FIRM, PLC                     JOHNSON, ROSATI, SCHULTZ &
Issa Haddad (P71699)                     JOPPICH, P.C.
Attorney for Plaintiff                   By: Holly S. Battersby (P72023)
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__________________________________________________________________/

            STIPULATED ORDER EXTENDING SCHEDULING
                      ORDER DATES 90 DAYS
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      The parties having stipulated and agreed and the Court being fully advised in

the premises;

      IT IS HEREBY ORDERED that the following dates currently governing this

case be extended 90 days, as follows:

                                        From             To

Discovery Cut-off:                      10/01/18         12/31/18

Dispositive Motion Cut-off              11/01/18         01/30/19

Referral to Wayne County Mediation 12/01/18              03/01/2019

Final Pretrial Conference               03/12/19         06/11/2019 @ 1:00 PM

Jury Trial                              04/02/19         06/25/2019 @ 9:00 AM



      IT IS SO ORDERED.

Dated: September 19, 2018               s/Bernard A. Friedman
Detroit, Michigan                       BERNARD A. FRIEDMAN
                                        SENIOR UNITED STATES DISTRICT JUDGE




Stipulated and Agreed to by:

s/ HOLLY S. BATTERSBY (P72023)
Attorney for Defendant Noe

s/ JOHN J. GILLOOLY (P41948) (w/ consent)
Attorney for Defendant Berryman

s/ ISSA HADDAD (P71699) (w/consent)
Attorney for Plaintiff


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